Case 1:09-cr-00466-BMC-RLM           Document 749        Filed 12/18/24          Page 1 of 5 PageID #:
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                                                      U.S. Department of Justice


                                                      United States Attorney
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 F. #2009R01065//OCDETF#NY-NYE-616                    Brooklyn, New York 11201


                                                      December 18, 2024
 BY ECF

 The Honorable Brian M. Cogan
 United States District Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:    United States v. Ismael Zambada García
                       Criminal Docket No. 09-466 (BMC)

 Dear Judge Cogan:

                 The government respectfully submits this letter, pursuant to Your Honor’s
 direction at the status conference on October 18, 2024, to supplement the government’s October
 16, 2024 letter requesting a hearing pursuant to United States v. Curcio, 680 F.2d 881 (2d Cir.
 1982) (the “Curcio Letter”) (ECF No. 743). In the Curcio Letter, the government advised the
 Court of a potential conflict of interest warranting a Curcio hearing. Specifically, the defendant
 Ismael Zambada García has retained and is currently represented by two lawyers, one of
 whom—Frank A. Perez, Esq.—also represented the defendant’s son, Vicente Zambada Niebla. 1
 In addition to being the defendant’s son, Zambada Niebla was also a co-conspirator with the
 defendant, and he pleaded guilty pursuant to a cooperation agreement with the government.
 Indeed, Zambada Niebla testified at the trial of the defendant’s co-defendant, Joaquín Guzmán
 Loera, also known as “El Chapo,” and Zambada Niebla’s testimony in that trial directly
 implicated the defendant. At the status conference, Your Honor did not express any final view
 about whether such a conflict is waivable but suggested that the issue may turn on whether
 Zambada Niebla is expected to testify against the defendant at trial and directed the government
 to file a supplemental letter taking a position on the issue.

                 For the reasons discussed below, the government respectfully submits that the
 nature of the conflict permits knowing and intelligent waiver at least in the pretrial context—for
 purposes of discovery review, pretrial litigation, and the negotiation of any potential resolution
 short of trial—and might be waivable for trial, depending on whether by that time Zambada
 Niebla is expected to testify, and, if so, whether that conflict can be sufficiently addressed,


        1
          The government is not aware of any conflict involving the defendant’s other retained
 counsel, Ray Velarde, Esq.
Case 1:09-cr-00466-BMC-RLM            Document 749        Filed 12/18/24      Page 2 of 5 PageID #:
                                            18899



 subject to the Court’s discretion, by having an unconflicted member of the defense team cross
 examine him.

    I.      The Nature of the Conflict

                 Zambada Niebla testified at El Chapo’s trial (while being represented by Mr.
 Perez) about, among other things, how his father (i.e. the defendant) and El Chapo ran the
 Sinaloa Cartel, a notorious criminal organization, together. Zambada Niebla also testified about
 his role in the Cartel working for his father and El Chapo. In May 2019, Zambada Niebla was
 sentenced in the Northern District of Illinois to 15 years’ imprisonment and a term of supervised
 release, which he has served. Although he has completed his time of incarceration and
 supervised release, Zambada Niebla remains subject to the terms of his cooperation agreement
 with the government, pursuant to which he must testify if called upon to do so. The government
 is not able to estimate at this time the probability that it will call Zambada Niebla to testify, but
 the government does expect that he will be on the government’s witness list as a potential
 witness. It is the government’s understanding that Mr. Perez remains Zambada Niebla’s counsel,
 while also actively representing the defendant in the case before the Court. This presents a
 potential conflict that the Court should explore during a Curcio hearing for a number of reasons.

                 First, during Mr. Perez’s prior and ongoing representation of Zambada Niebla, he
 may have learned certain confidential information governed by the attorney-client privilege
 which could compromise him from zealously and vigorously representing the defendant in the
 matter before the Court. Second, Mr. Perez through his representation of the defendant could
 learn information that could impact his other client’s cooperation agreement and status as a
 government cooperator, which would require him to breach duties owed to the defendant or
 prevent Mr. Perez from acting in the defendant’s interest. Third, if there is a trial and the
 government calls Zambada Niebla as a witness against the defendant, Mr. Perez may not be able
 to effectively cross-examine Zambada Niebla due to duties of loyalty owed to both of his clients
 arising out of an attorney-client relationship.

    II.     Applicable Law

                 The Second Circuit recognizes that a defendant can knowingly and intelligently
 waive potential conflicts arising from his attorney’s prior representation of a co-conspirator,
 including a co-conspirator who may testify against the defendant as a government witness. See,
 e.g., United States v. Perez, 325 F.3d 115, 124-27 (2d Cir. 2003); United States v. Basciano, 384
 Fed. App’x 28, 34 (2d Cir. 2010) (holding that defendant knowingly and intelligently waived
 conflict caused by lawyer’s prior representation of cooperating witness where the defendant
 “understood both the conflict and the plan to address it by having a different member of his
 defense team cross examine the witness”); United States v. Oberoi, 331 F.3d 44, 50 (2d Cir.
 2003) (ruling that a defendant will not be heard on appeal to complain of a conflict of interest
 premised on his attorney’s prior representation of a government witness if both the witness and
 the defendant waived any potential conflict); United States v. Blau, 159 F.3d 68, 75 (2d Cir.
 1998) (upholding a defendant’s waiver of conflict-free counsel where counsel had previously
 represented an individual involved in the underlying criminal conduct); United States v. Lussier,
 71 F.3d 456, 462 (upholding knowing and voluntary waiver where defense counsel would
 potentially be required to cross-examine a former client); United States v. Liszewski, No. 06 CR


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Case 1:09-cr-00466-BMC-RLM            Document 749         Filed 12/18/24      Page 3 of 5 PageID #:
                                            18900



 130 NGG, 2006 WL 2376382, at *11 (E.D.N.Y. Aug. 16, 2006) (finding potential conflict
 waivable where a former client was not yet identified as a trial witness against the defendant). 2

                 In United States v. Cunningham, 672 F.2d 1064 (2d Cir. 1982), the Second
 Circuit reversed a district court that had disqualified a lawyer (on the government’s motion) who
 had previously represented a co-conspirator that the government intended to call to testify. The
 court held that a criminal defendant could knowingly and intelligently waive his right to
 representation by conflict-free counsel in this circumstance. Id. at 1073. The court was satisfied
 that the defendant had “demonstrated that he adequately perceive[d] the circumstances and that
 he [was] willing to have circumscribed whatever right he might otherwise have to a fuller cross-
 examination of [the prior client], in order to retain [the lawyer] as his counsel.” Id. The court
 indicated that where a defendant’s “right to counsel of his choice conflicts with his right to an
 attorney of undivided loyalty, . . . the choice as to which right is to take precedence should be left
 to [the defendant] and not be dictated by the government.” Id.

                 As the cases above indicate, there is a strong presumption in favor of permitting
 defendants to choose their preferred counsel, even if that choice requires waiving a potential
 conflict of interest. This presumption, however, is not absolute, and it is generally subject to the
 discretion of the district court. See generally, e.g., United States v. Yannotti, 358 F. Supp. 2d
 289, 297 (S.D.N.Y. 2004) (declining to accept a waiver where three conflicts were present,
 including the attorney’s relationship with his client’s superior in a crime family, involvement in
 criminal conduct, and prior representation of a material witness against his client); United States
 v. Dipietro, No. S1 02 CR.1237SWK, 2004 WL 613073, at *3-4 (S.D.N.Y. Mar. 29, 2004), aff’d
 sub nom.; United States v. Genua, 274 F. App’x 53 (2d Cir. 2008) (finding an unwaivable
 conflict due to duty of loyalty issues raised by the attorney’s representation of a government
 witness); United States v. Massino, 303 F. Supp. 2d 258, 264-65 (E.D.N.Y. 2003) (finding
 conflict unwaivable because the court and parties might not anticipate all “of the strategies that
 might become necessary in order to mount a vigorous and successful defense”); United States ex
 rel Stewart on Behalf of Tineo v. Kelly, 870 F.2d 854, 857 (2d Cir. 1989) (affirming district
 court’s disqualification of attorney for inability to vigorously cross-examine informant and
 former client).

                Indeed, “district courts have broad latitude in making a decision whether to
 disqualify a defendant’s chosen counsel.” United States v. Fulton, 5 F.3d 605, 614 (2d Cir.
 1993). “[T]wo important interests may impose limits on a defendant’s right to waive attorney
 conflicts.” United States v. Cain, 671 F.3d 271, 294 (2d Cir. 2012). The first is that “the
 essential aim of the [Sixth] Amendment is to guarantee an effective advocate for each criminal

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          In some cases, courts have noted that waivers from both current and former clients
 alleviated concerns about a defense attorney facing the possibility of cross-examining a former
 client. See United States v. Sterritt, No. 21-CR-193(KAM), 2021 WL 4237112, at *6 (E.D.N.Y.
 Sept. 17, 2021) (finding a conflict diminished through waiver by former and current client prior
 to cross-examination of the former client); United States v. Moore, No. 20 CR. 563 (JPO), 2020
 WL 7495446, at *3 (S.D.N.Y. Dec. 21, 2020) (finding waiver of conflict arising from potential
 cross-examination appropriate where the defendant has had the opportunity to make an informed
 decision).


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Case 1:09-cr-00466-BMC-RLM            Document 749        Filed 12/18/24       Page 4 of 5 PageID #:
                                            18901



 defendant,” not “to ensure that a defendant will inexorably be represented by the lawyer whom
 he prefers.” Wheat v. United States, 486 U.S. 153, 159 (1988). The second is the “independent
 interest” of district courts “in ensuring that criminal trials are conducted within the ethical
 standards of the profession and that legal proceedings appear fair to all who observe them.” Id.
 at 160. Another concern is that conflicted-counsel waivers create “the potential for
 gamesmanship on the part of the defendant who waives a conflict only to later claim ineffective
 assistance.” Cain, 671 F.3d at 294. Motivated by those considerations, the Supreme Court in
 Wheat held that it was within the district court’s discretion to deny the defendant’s waiver of his
 right to conflict-free counsel where the lawyer of his choosing also represented two codefendants
 who were likely to become witnesses in the case against the defendant. 486 U.S. 153 at 164. At
 the same time, the Court cautioned against deriving a categorical rule from the facts, noting that
 although “[o]ther district courts might have reached differing or opposite conclusions with equal
 justification,” that did “not mean that one conclusion was ‘right’ and the other ‘wrong.’” Id.

                 In light of Wheat, and the “broad latitude” of district courts “in making a decision
 whether to disqualify a defendant’s chosen counsel,” Fulton, 5 F.3d at 614, the Second Circuit
 reviews a district court’s decision to disqualify an attorney “only for an abuse of discretion,”
 United States v. Locascio, 6 F.3d 924, 931 (2d Cir. 1993).

    III.    Discussion

                 At the current stage of proceedings, the possibility that Zambada Niebla could one
 day be called to testify at trial remains a prospect, and the government is not currently aware of
 some other actual conflict arising from adverse obligations owed to counsel’s two clients. It is
 thus not yet clear whether the potential conflict will eventually materialize into an actual
 conflict—whether arising from the need to cross-examine Zambada Niebla if he does testify or
 otherwise from conflicting attorney-client confidences. No trial date has been set, and
 considering the complexity of the case, it is unlikely that any trial date will be set imminently.
 Accordingly, for purposes of pretrial representation, the government respectfully submits that
 following questioning at a Curcio hearing, the defendant may knowingly and intelligently waive
 his right to unconflicted counsel and continue to be represented by Mr. Perez. See Perez, 325
 F.3d at 125-26. The fact that the defendant is also represented by unconflicted counsel in
 addition to Mr. Perez further alleviates concern, cf. Basciano, 384 Fed. App’x at 34 (use of
 multiple-member defense team can be sufficient to address conflict if knowingly waived), but the
 Court should ensure at a Curcio hearing that the defendant understands that continuing to be
 represented by conflicted counsel at all—with or without unconflicted co-counsel—is a purely
 voluntary choice that he need not make.

                 If the case progresses towards trial, and especially if at that time it appears
 probable that Zambada Niebla may be called to testify against the defendant, the government
 will request a further hearing to address whether the conflict at that time can still be waived, and,
 if so, to address the further question of whether a waiver from Zambada Niebla should be
 obtained. Cf. Perez, 325 F.3d at 128 (noting that the question of representation can be reopened
 throughout proceedings); Oberoi, 331 F.3d at 50 (noting that a client will not be heard on appeal




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Case 1:09-cr-00466-BMC-RLM             Document 749       Filed 12/18/24     Page 5 of 5 PageID #:
                                             18902



 to complain of a conflict of interest premised on his attorney’s prior representation of a
 government witness at trial if both the witness and the defendant waived any potential conflict). 3

       IV.       Conclusion

               For the foregoing reasons and those provided in the government’s prior letter, the
 government respectfully requests that the Court conduct an appropriate inquiry pursuant to
 Curcio based on the issues raised herein.

                                                      Respectfully submitted,
                                                      BREON PEACE
                                                      United States Attorney

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 cc:         All counsel of record (by ECF)
             Clerk of Court (BMC) (by ECF)

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               Mr. Perez has indicated to the government that Mr. Zambada Niebla has no
 objection to Mr. Perez representing his father and would be willing to provide a waiver.



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